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                                                      April 18, 2020

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    Bentonville, AR 72712
    Counsel for Satanic Temple Intervenors

             Re:     Cave v. Thurston, Case No. 4:18CV342 KGB, Second Supplemental Disclosures

    Dear Counsel,

    Due to Covid-19 the Attorney General’s offices have been closed for the past five weeks. In
    particular, I have been locked out and unable to access my office and many of my files since
    a day or two after Doug Misicko’s deposition in this matter on March 11. This closure has
    significantly handicapped our work, but we are continuing and adapting to this
    unprecedented challenge.

    Attached are Defendant’s second supplemental disclosures, which represent a continuing
    good faith effort to identify individuals and items that Defendant may use to support his
    defenses in this case. The items include:
             2016-10-12 Subcom 2 Mtg - AHHF & TST                                                0953-1023
             2016-11-10 Subcom 1 Mtg - Gold Star & SASS                                          1024-1119
             2016-11-16 Subcom 2 Mtg - AHHF                                                      1120-1159
             2016-12-14 Pub. Comments Mtg - AHHF                                                 1160-1260
             2017-01-25 Subcom 2 Mtg - TST                                                       1261-1274
             2017-01-26 Subcom 1 - Gold Star                                                     1275-1314
             2017-05-11 Subcom 2 - AHHF                                                          1315-1347
             2017-12-05 Subcom Mtg AHHF (Security Enhancements)                                  1348-1361
             2017-12-07 Pub. Comments Mtg - AHHF                                                 1362-1365
                                  323 Center Street, Suite 200, Little Rock, AR 72201
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AGRutledge    AGLeslieRutledge     AGLeslieRutledge      Attorney General Leslie Rutledge   ArkansasAG        AGRutledge
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       2017-12-12 Full Commission Mtg - AHHF                              1366-1383
       August 31, 2015 Letter from the Satanic Temple                     1384-1386
       Black Mass at the Satanic Temple                                   1387-1387
       Lucien Greaves Speech 08-16-18                                     1388-1391
       Mass. Commission Order - TST v. Twitter                            1392-1394
       Satanic Temple v. Scottsdale Litigation - MTD Exhibits             1395-1713
       Temple of the Jedi Order - IRS - Exemption - Letter                1714-1716
       2020-04-18 Shane Bugbee Declaration                                1717-1754


Further, based on newly received information, Defendant discloses under Rule 26(a)(1) &
(e)(1) that Mr. Shane Bugbee (Ph. 312-854-9306, address unknown) is an individual who is
likely to have discoverable information that Defendant may use to support his defenses. The
subjects of that information are indicated in batestamped pages 1717-1754 of Defendant’s
second supplemental disclosures.

Defendant reserves the right to further supplement these disclosures as additional
information becomes available and to use at trial such other additional documents, tangible
things, or witnesses as are revealed in the course of further investigation and discovery.
                                           Respectfully,

                                           Michael A. Cantrell
                                           Assistant Solicitor General
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                              CERTIFICATE OF SERVICE

      I, Michael A. Cantrell, certify that on April 18, 2020, I served the foregoing on all
counsel of record.

                                              /s/ Michael A. Cantrell
                                              Michael A. Cantrell
